 Case 4:21-cr-06028-MKD   ECF No. 167   filed 03/10/22   PageID.894 Page 1 of 1




                                                                        FILED IN THE
                                                                    U.S. DISTRICT COURT
                                                              EASTERN DISTRICT OF WASHINGTON



                                                               Mar 10, 2022
                                                                   SEAN F. MCAVOY, CLERK




                  UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF WASHINGTON


UNITED STATES OF AMERICA,           )
                                    )
                      Plaintiff,    )
                                    )            No. 4:21-cr-06028-MKD-10
      vs.                           )
Ignacio Garay Ornelas               )
                                    )
                                    )
                      Defendant.    )
___________________________________ )

           Received Rule 5 papers from the United States District Court,
CENTRAL DISTRICT OF CALIFORNIA (Eastern Division - Riverside).
